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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY



PAOLA PAZYMINO, on behalf herself
and those similarly situated,

Plaintiff,
                                        Civil Action No.: 2:19-cv-12259-KM-
-v-                                     SCM

PORTFOLIO RECOVERY
ASSOCIATES, LLC,

Defendant.



             LOCAL RULE 56.1 STATEMENT OF UNDISPUTED
             MATERIAL FACTS IN SUPPORT OF DEFENDANT’S
                 MOTION FOR SUMMARY JUDGMENT

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       Pursuant to Local Civil Rule 56.1, Defendant Portfolio Recovery Associates,

LLC (“PRA”), by and through its attorneys, submit the following statement of

material facts not in dispute in support of its Motion for Summary Judgment

regarding the Amended Class Action Complaint (the “Complaint”) of Plaintiff Paola

Pazymino (“Plaintiff” or “Pazymino”):

                        UNDISPUTED MATERIAL FACTS

       1.      Plaintiff, Paola Pazymino is a natural person residing in Bergen County,

New Jersey. Compl., Dkt. No. 49, at ¶ 5.

       2.       Plaintiff incurred and owed a financial obligation (the “Debt” or

“Account”) to Comenity Bank/Ann Taylor. Id. at ¶¶ 11, 14.

       3.       Plaintiff last made a payment on the account on April 19, 2014.

Id. at ¶ 15.

       4.       Plaintiff defaulted on the Account in July 2014. Id. at ¶ 16.

       5.       Upon default, a cause of action to enforce the Debt accrued. Id.

at ¶ 17.

       6.       PRA subsequently purchased Plaintiff’s Account. Id. at ¶ 18.

       7.       PRA sent a letter to Plaintiff on May 8, 2018, including a

statement of account reflecting a current balance of $555.72. Id. at Exhibit A.




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       8.     Plaintiff received and reviewed PRA’s May 8, 2018, letter,

including the statement of account reflecting a current balance of $555.72. Id.

at ¶ 23.

       9.     PRA sent a letter to Plaintiff on August 14, 2018, including a

statement of account reflecting a current balance of $555.72. Id. at Exhibit B.

       10.    Plaintiff received PRA’s August 14, 2018, letter, including the

statement of account reflecting a current balance of $555.72. Id. at ¶ 50.

       11.    PRA sent a letter to Plaintiff on December 18, 2018, including a

statement of account reflecting a current balance of $555.72. Id. at Exhibit C.

       12.    Plaintiff received PRA’s December 18, 2018, letter, including the

statement of account reflecting a current balance of $555.72. Id. at ¶ 50.

       13.    PRA sent a letter to Plaintiff on March 19, 2019, including a

statement of account reflecting a current balance of $555.72. Id. at Exhibit D.

       14.    Plaintiff received PRA’s March 19, 2019, letter, including the

statement of account reflecting a current balance of $555.72. Id. at ¶ 50.

       15.     Plaintiff does not dispute the Account. Id. at ¶¶ 11 through 19.

       16.    Plaintiff does not dispute that the Account is past due. Id. at ¶¶

16.

       17.    Plaintiff does not dispute that a cause of action accrued on the

account in July 2014. Id. at ¶ 17.



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Dated: January 28, 2022
New York, New York
                                    Respectfully submitted,

                                    TROUTMAN PEPPER HAMILTON
                                    SANDERS LLP

                                    By: /s/ Stephen J. Steinlight
                                    Stephen J. Steinlight, Bar No. 028852001

                                    Attorney for Defendant Portfolio Recovery
                                    Associates, LLC




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